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TNW Boothe, Tavaris
3. MAC. DKTJDEF. NUMBER 4. DlS'l`. DKTJDEF. NUMBER $. APPEALS DKT./DEF. NUMBER 6. OTHER DKT. NUMBER 0

2205-020177-004
7. IN CASE¢"MATI'ER OF (Case Name} B. PAYMEN T CATEGORY 9. TYPE PERSON REPRESENTED ll]. l%£l' !IE'SET‘V_TA)T[ON TYPE
¢ o, rue ll"ll

U.S. v. Boothe Felony Aduit Def`endant Crimfnal Case /g,¢ ,»
ll. OFFENSE(S) Cl'l ARCED (Cite U.S. Code, Title &. Section) Ifmore than oae nfl'ense, list (up to live) major offenses eharged, according to severity of olt'eose. <G;,'?’ /[ '

1) 21 846=C D.F -- CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE 33 51 _ s

z‘j’""' ' -< _ 'j,_
IZ. A'ITORNEY'S NAME grim Name, M.l., l.ast Name. including any sull'u) 1]. COURT ORDER »’;7/ di jj 1510 5
AND MA"~'INC ADDRE 5 lE 0 Appoinn.g counsel |I| c cu-cuuml ' // ,‘¢/"

\Neinrna_“1 Bemard EI F ths For Federal[)efender m R Sabs For Retained Atturney cng/30 %

275 jEFFERSON AVE l:l l' Subs l-'or Panel Attorney l:l Y Staadhy Cnunsel 1557 /§)/`

MEMPHIS 'I'N 3 8103 l'rior Attorney's Name:

 

Appo'mtment Date:

 

m Beeause the above-named person represean has testiiied under oath or has
otherwise satisfied this court that he or she (l) is llaandally unable to employ unnael and
Te|ephone Number: (1) does not wlslt to waive counsel and because e interests ol' janice so reqaire, the

attorney whose name appears in em 2 is p int o t' sent this person in this ease,
l4. NAME AND MA.[LlNG ADDRESS OF LAW FIRM (only provide per inltruetlons) or

 

m Other(See Instructions)

Signature of Presiding .ludieial OEi;er or By Ordes' ofthe Court

06/1 I`t/') 00 5
Date ot'()rder Nune Pro 'l`\mc Dale

Repaymem or partial repayment ordered from the person represented |`or this service at
time of appointment [:] NU

TOTAL
AMOUNT
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MATH!TECH
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ls. a. Arraignment and/or Plea

 

b. Bail and Detention Hearings

 

c. Motion Hearings
d. Trial

e. Sentencing Hearings

 

 

 

f. Revocation Hearings

 

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g. Appeals Court
h. Other (Specify on additional sheets)

 

 

(Rate per hour = S ) TOTALS:

 

a. Interviews and Conferences

 

b. Ohtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travel time

 

e. Investigattv e and Other work (speeify nn additional sham

 

 

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(Rate per hour = 5 ) TOTALS:

 

 

17. Travel Expenses (lndging, parking, meals. miteage, ete.)

 

 

 

]8. Ol’hel' EXpel‘lSeS (other than expert transcripts, etc.)
. w`, J. ,, ..._, . .

 

 
 

  

 

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19. CERTIF|CA"HON OF A'lTORNE\'/PAYEE FOR THE PERIOD 0 F SERV]CE

 

 

 

 

 

20. APPO|NTMENT TERMIN.|\T[ON DATE 1'. CASE DlSPOSlTION
FROM m lF OTHER THAN C.¢\SE COMFLET[ON
22. CLAIM STATUS [] Flnal Payment i:] interim Payment Numher ____ [:I Supplementa| Fayment
Have you previously applied to the court fcr compeasatioa and.for remimbursement for this clse? l:l YES l:l NO ll` yes. were you paid? I:] YES l:l NO

Other than from the eoun. have you, or toyour knowledge has anyone else\ received payment (colnpensatiun or anything or valne) from any other source tn connection with this
representatioa? l:l Y`ES NO |l' yes, give details on additional lheeta.

l swear or affirm the truth or correctness of the above statements

Signlture ofAttorney-

 
 
 

 

 

 

 

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23. IN-COURT COMP. 14. OUT OF COURT COMP. 15. TR.AVEL EXPENSES 26. OTHER EXPENSES IT. TOTAL AMT. APPR.'CERT
28. SlGNATURE OF THE PR.ESIDING JUDICIAL OFFlCER DATE IBa. JUDGE .' MAC. JUDGE CODE
29, lN COURT COMF. 30. OUT OF COURT COMP. 3l. TR.AVEI.. EXPENSES 32. OTI'IER EXPENSES JJ. TOTAL AMT. A?FR{)VED

34. S.lpl:,ip‘i.¢$ll)nl{§cgsl"n(f:¢l:ell'i`.ll."l:llulg?hl'i,”(hfgé.l$"'l;£§` APP EALS (OR DELEG ATE) Payment DATE 34¢1. JUDGE CODE

 

 

 

 

 

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Honorablc Samuel Mays
US DISTRICT COURT

